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        Exhibit 6
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                                                  January 7, 2020



BY ELECTRONIC MAIL
Arbitrator Les J. Weinstein
lesweinsteinadr@gmail.com

       Re:     Spencer Meyer v. Uber Technologies, Inc.
               AAA Case Number 01-18-0002-1956

Dear Mr. Weinstein:

       Claimant Spencer Meyer writes in response to your three questions.

Question 1: “How is this different from a franchise such as McDonald’s where the franchisor tells
the franchisees that they are invited to participate in a forthcoming special publicized pricing offer
designed to raise profitability? Say a quadruple giant Mac for $3.50 on Tuesday. Or that the Big
Mac should be reduced in weight or that fries are to go up 5 cents starting Monday?”

Response 1:

        The McDonald’s franchise examples above are legally distinct from Uber’s surge pricing
for at least three independent reasons. The first two distinctions arise because McDonald’s is a
franchise and Uber is not. The third distinction is the nature of the restraint; unlike surge pricing,
which works only if all drivers on the platform adopt it, each McDonald’s proposal works without
unanimity.

        First, unlike Uber and its drivers, franchises (meaning franchisors and franchisees) may
sometimes properly be treated as single entities under the antitrust laws. A number of “courts have
held that a franchisor is incapable of conspiring with its franchisee.” Search Int’l, Inc. v. Snelling
& Snelling, Inc., 168 F. Supp. 2d 621 (N.D. Tx. 2001). That includes fast-food franchisees. See,
e.g., Williams v. I.B. Fischer Nevada, 794 F. Supp. 1026, 1032 (D. Nev. 1992) (holding Jack-in-
Box franchise to be single entity), aff’d, 999 F.2d 445 (9th Cir. 1993); Hall v. Burger King Corp.,
912 F. Supp. 1509, 1548 (S.D. Fla. 1995) (holding Burger King franchise to be single entity). If
McDonald’s and its franchisees form a single entity, there can be no Section 1 violation. That




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defense does not apply to Uber because Uber is not a single entity with drivers. Nor has Uber ever
argued that it should be considered one. 1

        Second, and again unlike Uber, franchisors and franchisees often engage in joint ventures
together. When a franchise operates as a joint venture, the ancillary restraints doctrine permits
“those restraints that are intended to promote the efficiencies of [the] joint venture.” MLB Props.,
Inc. v. Salvino, Inc., 542 F.3d 290, 339 (2d Cir. 2008) (Sotomayor, J. concurring). The Justice
Department recently explained that a franchise may be a “legitimate and procompetitive joint
venture,” to which per se rules would not always apply. See U.S. Statement of Interest at 11,
Stigar v. Dough Dough, Inc. 2:18-cv-00244, Dkt. 38 (E.D. Wash. Filed Mar. 8, 2019); see also id.
at 13 (“[A]n agreement between them is correctly characterized as horizontal and, if not ancillary
to any legitimate and procompetitive joint venture, would be per se unlawful”) (emphasis added).
By contrast, Uber is not alleging any joint venture between and among Uber and its drivers. To
the contrary, Uber has already stipulated that its drivers “are not . . . part of any joint venture . . .
with Uber.” Joint Stip. ¶ 11.

         Third, the McDonald’s proposals differ because none appears to require unanimity to be
viable. Interstate Circuit’s conditionality element has two parts. The first tests collective benefit.
We call this the smoke-filled room test: Whether the restraint presents “the prospect of increased
profits” “with substantial unanimity,” such that, if all competitors could coordinate directly by
sitting down together in a room, they would accept the restraint. Interstate Circuit v. United States,
306 U.S. 208, 222-23. Because these McDonald’s proposals are “designed to raise profitability”
for stores, they would meet that first test (i.e., stores would collectively welcome these proposals).

        But the McDonald’s proposal would still likely fail the second part of conditionality. The
second part tests if the restraint is against independent interest. It asks if a competitor would refuse
to go-it-alone. To pass this test, a restraint must “be against [competitors’] own interests were they
acting independently.” United States v. Apple, Inc., 791 F.3d 290, 319-20 (2d Cir. 2015).
Restraints that pass this test only work collectively. The restraint has to be one that presents the
“risk of a substantial loss,” “without substantially unanimous action,” 306 U.S. at 222, so that “the
only condition on which each . . . would agree” “was if it could be sure its competitors were doing
the same thing,” Toys “R” Us v. FTC, 221 F.3d 928 (7th Cir. 2000). Surge clearly works this way.
If drivers on the Uber platform could opt out of surged prices, those drivers would undercut surge.



1
  Nor has Uber ever pretended to be a franchise. See, e.g., Trans. at 30:12-14 (Uber opening) (‘we
have relationships with contractors instead of employees or franchises”); Trans. at 873:14-16 (Dr.
Carlton) (“I don’t think I would use the word, franchise, to describe Uber”). Rather, to limit its
own liability, Uber distances itself from drivers’ work. See, e.g., Meyer Ex. 38, at 2 (Tony West,
Uber Chief Legal Officer, asserting “drivers’ work is outside the usual course of Uber’s business,
which is serving as a technology platform for several different types of digital marketplaces”).
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See Trans. 598:24-599:3 (Trew) (cheaper rides “would get snapped up”).2 So surge only works
collectively; no driver would go-it-alone. But that is not true of the McDonald’s proposals. There
is no reason to believe that an individual McDonald’s store needs unanimous action to successfully
sell a giant Mac, reduce the weight of a Big Mac, or increase fries by five cents. Unlike Uber’s
platform, where competitors are all selling rides at the same place (the Uber marketplace),
McDonald’s stores compete in different places; McDonald’s stores are not subject to the same
instantaneous comparison shopping. (That’s why a McDonald’s franchisee can charge more in a
sport stadium). Because a McDonald’s store could go-it-alone and likely adopt any of these
changes without unanimity, these proposals do not fit within the Interstate Circuit doctrine.

Question 2: “To the extent I may be vested with discretion as to relief, what am I to make of your
only attacking surge pricing? Does not your theory hold up as to everyday pricing? If so what does
it say about your public bona fides?”

Response 2:

       Meyer limited this arbitration to surge pricing for two good reasons. The first is practical
and the second is legal.

        First, surge is the most pernicious form of price-fixing by Uber drivers. For riders, paying
extra during surge pricing, with no room for competition on the platform, is an easy-to-appreciate
harm. Surge pricing is experienced, by Meyer and others, as price gouging. Meyer seeks to end
that practice.

        Second, while Uber’s surge pricing neatly fits the Interstate Circuit doctrine, it would take
more work to prove whether everyday pricing does.3 Surge pricing easily meets Interstate
Circuit’s conditionality element and is therefore horizontal, as set out in Meyer’s brief. Where
surge and everyday pricing differ is the first test of conditionality, the smoke-filled room test.
Surge passes the test by design. It was designed as an incentive, to offer the “prospect of increased
profits.” It is the type of restraint that drivers, in a smoke-filled room, would happily adopt. Every
driver would like more money per ride, which is what surge offers. Surge is all upside: more
money per ride. But everyday pricing is not all upside. It is a particular baseline. To challenge

2
  A principal reason surge works only collectively is Uber’s marketplace structure. A broker
raising a share price $1.00 above a marketplace price will not sell any shares because buyers can
purchase the same share (a commodity) for less in the same marketplace, without any effort. Only
if the broker agrees with all other sellers could he successfully raise the price. The same is true of
Uber. It can surge fares in its marketplace only because a lower price is not available on Uber.
3
  Of course, everyday pricing would be per se illegal if drivers adopted it by communicating
directly with each other. See United States v. General Motors Corp., 384 U.S. 127 (1966). But
surge is a horizontal conspiracy because of the Interstate Circuit doctrine, not because of direct
contact among drivers. Whether everyday pricing also fits Interstate Circuit is a harder question.
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everyday pricing, Meyer would need to prove that, like surge, everyday pricing incentivizes drivers
by offering them “the prospect of increased profits.” 306 U.S. at 222-23 (emphasis added).
Because surge was designed as an incentive and is all upside, it is the more straightforward case.

        As for Meyer’s bona fides, they are beyond reproach. Meyer has prosecuted the strongest
case against Uber for its most harmful pricing practice. In this dispute, Meyer has endured
mistreatment that no consumer plaintiff should endure. Soon after Meyer started this case, Uber
“hire[d] unlicensed private investigators to conduct secret personal background investigations of
both [Meyer] and his counsel,” and “these investigators flagrantly lie[d] to friends and
acquaintances of [Meyer] and his counsel in an (ultimately unsuccessful) attempt to obtain
derogatory information about them.” Meyer v. Kalanick, 212 F. Supp. 3d 437, 439 (S.D.N.Y.
2016). Meyer took on this case to pursue a public good and found himself the victim of “fraudulent
and arguably criminal conduct.” Id. at 444. He did all this, as explained below, without asking
for any windfall fees or recoveries. Meyer has selflessly pursued this case for years.

Question 3: “Am I correct that while Uber offered in settlement to pay your client’s attorney’s
fees you and Uber had a dramatically different idea as to the amount with Uber restricting their
offer to fees in the arbitration proceeding and not contemplating a broad injunction or any value
attributed to it?”

Response 3:

        No. In fact, Uber offered to stipulate to pay all of the attorneys’ fees and expenses that
Meyer would be entitled to if he prevailed. But Meyer rejected that offer. He rejected the offer
because Uber did not agree to enjoin surge pricing. And, to be clear, at no point in this arbitration
has Meyer ever sought fees related to the value of the injunction. Meyer seeks only fees and
expenses to pay his attorneys for prosecuting this action. Counsel seek no multiplier. Windfall
fees are not on the table.

          Initially, it is true that Uber proposed an award that limited attorneys’ fees and expenses to
those incurred in the arbitration (and not the litigation). On December 21, 2018, as Exhibit 1 to its
Motion to Dismiss, Uber submitted its Proposed Stipulation of Award. That initial award
specifically stated that Uber would not be “responsible for any costs and attorneys’ fees accrued
. . . as part of any pre-arbitration litigation.” Meyer disagreed with that limitation (and still does)
because, under applicable law, Meyer’s efforts at advancing this action before Judge Rakoff should
also be compensable. Early in the motion to dismiss proceedings, the parties, as you recall,
disagreed on this term within Uber’s offer.

       But, after a conference call with this tribunal, Uber offered fees and expenses without any
such restriction. On March 11, 2019, Uber submitted a revised award that did not so limit fees and
expenses. That Proposed Arbitral Award for Injunctive and Monetary Relief stated, by contrast,
that Uber would “pay reasonable costs and attorneys’ fees for the above-captioned arbitration to
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which [Meyer] is entitled under 15 U.S.C. § 15 and the User Agreement Between Claimant and
Uber.” Uber made clear that this offer ditched its earlier limitation. This tribunal specifically
asked Uber whether it has “in effect offered to tender to Meyer his full claimed treble damages,
prejudgment interest on those damages and his attorneys’ fees according to law.” See Uber Suppl.
Mem. dated Mar. 11, 2019, at 2. And Uber answered, “yes, with the exception of interest, as
Meyer never demanded it.” Id. As Uber explained, it was offering Meyer all “attorneys’ fees
according to law.” Id.

        Meyer rejected Uber’s full-fee offer. That offer matches Meyer’s current position on
fees—that he is entitled to all attorneys’ fees due according to law. To reiterate, the only attorneys’
fees Meyer has ever sought to obtain here are those covering the actual work done by his team of
lawyers. Meyer has never made any attempt to obtain a multiplier or windfall fees, as might be
available in the class action context. In responding to Uber’s revised offer―to pay all attorneys’
fees due by law―Meyer did not take the position that he was entitled to additional attorneys’ fees.
Instead, Meyer pointed out that the tribunal would need to resolve the fee issue, which, with Uber’s
offer, “remain[ed] open.” See Meyer Suppl Mem. dated Mar. 11, 2019, at 8. Meyer continues to
seek attorneys’ fees on the same basis, should he prevail now.

        The reason Meyer rejected Uber’s offer was not because it restricted counsel’s fees but
because it did not include an injunction against surge. See id. at 2 (explaining, in rejecting offer,
“Meyer is entitled to enjoin price-fixing if he prevails on the merits.”). Then and now, Meyer
seeks that injunction to vindicate his rights and the antitrust laws. See Trans. 58:25-59:2 (“It’s for
everyone, not just me.”). That is the distinction between what Uber offered previously—i.e.,
damages, all attorneys’ fees under law, and a narrow injunction (applying to Meyer only)—and
what Meyer seeks now—i.e., damages, all attorneys’ fees under law, but a fulsome injunction
(enjoining surge, in toto). Meyer has never sought and will not seek a fee calculation that is tied
to the value of that injunction. There are no windfall fees at stake here. Meyer seeks to right a
wrong, not to enrichen himself or his counsel.

       Thank you for considering this response.

                                               Very truly yours,

                                               Harter Secrest & Emery LLP

                                               /s/ Brian M. Feldman

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cc:    Uber counsel
